                          IN THE U.S. DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

 THE MARINAS, INC.; VOLUNTEER     )
 LANDING YACHT CLUB, INC. d/b/a   )
 VOLUNTEER YACHT CLUB; MARINA     )
 MANAGEMENT, LLC d/b/a FOX ROAD   )
 MARINA; KIGER MANAGEMENT, LLC    )
 d/b/a VOLUNTEER MARINA, KIGER, INC.
                                  )
 d/b/a WILLOW POINT MARINA, and   )
 DOWNTOWN PROPERTIES, LLC.,       )
                                  )
     Plaintiffs,                  )
                                  )
 v.                               )                      Case No. 3:13-cv-00298
                                  )                      Reeves / Guyton
 GREAT MIDWEST INSURANCE COMPANY, )
                                  )
     Defendant.                   )

                            AGREED ORDER OF DISMISSAL

        It appears to the Court from the signatures hereto that all matters in controversy

 have been compromised and settled, that the parties’ causes of action should be

 dismissed with prejudice, that each party should bear its own discretionary costs, and that

 any liens or subrogation interests arising as a result of the payment of any sums

 pursuant to the Settlement Agreement and Policy Release dated November 11, 2014

 between the Parties ("Settlement Proceeds") should be satisfied by the plaintiffs from

 the Settlement Proceeds as required by law.

        It is therefore and hereby ORDERED, ADJUDGED, and DECREED as follows:

        1.     The parties’ causes of action are hereby dismissed with prejudice.

        2.     Each party shall bear its own discretionary costs.




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         3.    The plaintiffs shall be responsible for the payment of any and all liens or

 subrogation interests created by the payment of the Settlement Proceeds by GMIC to

 Plaintiffs.

         4.    Any unpaid court costs are taxed to the defendant. Court costs previously

 paid by or on behalf of the plaintiffs are not taxed to the defendant.

                        9th
         ENTERED this ________         December
                               day of ______________, 2014.



                                             _____________________________________
                                             JUDGE


 APPROVED FOR ENTRY:


 s/John M. Jackson
 JOHN M. JACKSON
 Registration No. 025479
 Attorney for Plaintiffs

 GARNER & CONNER, PLLC
 P.O. Box 5059
 Maryville, TN 37802
 865-984-1268



 /s Benjamin J. Miller_____________
 GARY A. BREWER
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 615-256-8787




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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was sent via electronic mail
 on the 8th day of December, 2014, addressed to:


 Gary A. Brewer, Esq.
 Benjamin J. Miller, Esq.,
 BREWER, KRAUSE, BROOKS, CHASTAIN & BURROW, PLLC
 P.O. Box 23890
 Nashville, TN 37202


                                                      /s/John M. Jackson, III
                                                      John M. Jackson, III




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